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     JARED M. THOMPSON (SBN 261942)
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 2   Bakersfield, CA 93301
     (661) 327-1360 (phone)
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4    Attorney for Defendant
     DEREK A. BROWN
 5

 6
                                       UNITED STATES DISTRICT COURT

                                      EASTERN DISTRICT OF CALIFORNIA
 7
      UNITED STATES OF AMERICA,                                   Case No. 1:14-CR-62 AWI
 8

 9                                 Plaintiff,                     STIPULATION TO CONTINUE
                                                                  SENTENCING HEARING &
10                              vs.                               PROPOSED ORDER

11    DEREK A. BROWN and                                          Date: August 18, 2014
      BRIAN T. SCHAUB,                                            Time: 10:00 a.m.
12
                                   Defendant
13

14            The Defendants, DEREK BROWN and BRIAN SCHAUB, by and through their

15
     attorneys of record, Jared M. Thompson and David A. Torres, and the United States of America,

     by and through its attorney of record, MICHAEL TIERNEY, hereby stipulate as follows:
16
     1. The sentencing hearing in this matter is currently set for August 18, 2014 at 10:00 a.m.
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     2. The defense is seeking a continuance of the sentencing hearing due to a calendar conflict on
18
         August 18, 2014, as well as, for the defendants to be able to make a substantial payment
19
         towards restitution in this case. The defense is requesting September 8, 2014, at 10:00 a.m.
20
         for the new sentencing hearing.
21
     3. On August 18, 2014, defense counsel Mr. Thompson has a preliminary hearing set in
22
         Ventura County, CA, in the matter of People v. Christopher Goldberg, Case No.
23
         2013032347. This hearing was set prior to the current sentencing hearing date in the present
24
         matter. In addition, Mr. Thompson was unable to appear at the last preliminary hearing date
25       in the Goldberg matter due to the fact he was engaged in a jury trial.
26

27
     Joint Stipulation of all parties to Continue Sentencing- 1
28
             Case 1:14-cr-00062-LJO-BAM Document 20 Filed 08/08/14 Page 2 of 3



 1   4. Mr. Brown and Mr. Schaub are working feverishly to put together a substantial payment

 2       towards restitution prior to the sentencing hearing. The additional time will allow them to

 3       make a larger payment towards restitution.

4
     5. The United States has no objection to the requested continuance and the date selected.

         The parties agree that the time until the next status conference be excluded under the Speedy
 5
     Trial Act to preserve the interests of justice under 18 U.S.C. § 3161(h)(7)(A).
 6

 7
         IT IS SO STIPULATED.
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 9   DATED: August 8, 2014                                        The Law Office of Kyle J. Humphrey
10
                                                                  By: /s/ Jared M. Thompson
11                                                                Jared M. Thompson
                                                                  Attorney for Defendant
12                                                                Derek A. Brown

13
     DATED: August 8, 2014                                        The Law Office of David A. Torres
14
                                                                  By: /s/ David A. Torres
15
                                                                  Jared M. Thompson
                                                                  Attorney for Defendant
16                                                                Bryan T. Schaub
17

18   DATED: August 8, 2014                                        United States Attorney’s Office

19                                                                By: /s/ Michael Tierney
                                                                  Michael Tierney
20                                                                Assistant United States Attorney

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25
     [ORDER APPEARS ON FOLLOWING PAGE]
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27
     Joint Stipulation of all parties to Continue Sentencing- 2
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             Case 1:14-cr-00062-LJO-BAM Document 20 Filed 08/08/14 Page 3 of 3



 1                                                         ORDER

 2            IT IS HEREBY ORDERED that Mr. Brown and Mr. Schaub’s sentencing hearing date,

 3   currently set on August 18, 2014, at 10:00 a.m., be continued to September 8, 2014, at 10:00 a.m.
4
     Time is excluded under the Speedy Trial Act, for the reasons outlined in the stipulation, through
 5
     that date and time as well.
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     IT IS SO ORDERED.
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     Dated: August 8, 2014
 9                                                        SENIOR DISTRICT JUDGE
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     Joint Stipulation of all parties to Continue Sentencing- 3
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